                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                            Plaintiff,                           Case Nos. 3:17-cr-00091-TMB-KFM
                                                                           3:17-cr-00092-TMB-DMS
          v.
                                                              ORDER COMMITTING DEFENDANT
    LEIGH ANN MASSENGILL,                                     MASSENGILL FOR EXAMINATION
                                                               PURSUANT TO 18 U.S.C. § 4241(b)
                            Defendant.


        Defense counsel moved, at docket 20 in case no. 3:17-cr-00092-TMB-DMS and at docket
34 in case no. 3:17-cr-00091-TMB-KFM, for a hearing to determine the mental competency of the
defendant, Leigh Ann Massengill. The Court granted defense counsel’s motions on October 24,
2017, and set on a competency hearing for October 27, 2017. 1 The Government then moved that
Ms. Massengill be committed to the custody of the Bureau of Prisons to undergo an examination
pursuant to 18 U.S.C. § 4241(b). 2 Defense counsel has not opposed the Government’s request. 3

         Accordingly, IT IS HEREBY ORDERED:

        (1)    The Government’s motions at docket 25 in case no. 3:17-cr-00092-TMB-DMS and
at docket 40 in case no. 3:17-cr-00091-TMB-KFM are GRANTED. The defendant, Leigh Ann
Massengill, is hereby committed pursuant to 18 U.S.C. § 4241(b) to the custody of the Attorney
General for placement in a suitable facility for a reasonable period, but not to exceed thirty days,
so that an examination of the defendant may be conducted to determine her mental competency.
A psychiatric or psychological report shall be filed with the Court at the conclusion of the
evaluation, consistent with the provisions of 18 U.S.C. §§ 4247(b) and (c).

        (2)     The Competency Hearing currently set for October 27, 2017 at 11:00 a.m. in
Anchorage Courtroom 1 before Judge Timothy M. Burgess is VACATED. It will be reset upon
receipt of the psychiatric or psychological report, discussed above.

IT IS SO ORDERED.

                                             Dated at Anchorage, Alaska, this 27th day of October, 2017.

                                                               /s/ Timothy M. Burgess
                                                               TIMOTHY M. BURGESS
                                                               UNITED STATES DISTRICT JUDGE

1
  3:17-cr-00092, Dkt. 24; 3:17-cr-00091, Dkt. 39.
2
  3:17-cr-00092, Dkt. 25; 3:17-cr-00091, Dkt. 40.
3
  See 3:17-cr-00092, Dkt. 26 (text order inviting defense counsel’s opposition); 3:17-cr-00091, Dkt. 41 (same).

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